RAS-1



           ORDER CONCERNING EMERGENCY OR EXPEDITED MOTIONS

        In cases pending before the Honorable Richard A. Schell, any party who files an expedited

or emergency motion is hereby ORDERED to telephone chambers immediately upon the filing of

such a motion.


        IT IS SO ORDERED.


                  SIGNED this the 20th day of April, 2007.




                                                          RICHARD A. SCHELL
                                                          UNITED STATES DISTRICT JUDGE
                           United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

                            ORDER REGARDING EXTENSION OF
                        DIVISIONAL STANDING ORDER NO. 2020-1

        It is hereby ORDERED that Divisional Standing Order No. 2020-1 shall remain in effect

until further order of the Court.

        So ORDERED and SIGNED, January 31, 2021.




Amos L. Mazzant, III                                  Richard A. Schell
U.S. District Judge                                   U.S. District Judge




Sean D. Jordan (
U.S. District Judge
